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     Attorney for MELODY ANN CAMPBELL,
 5   Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )    No. CR.S-02-214-GEB
                                         )
12                   Plaintiff,          )    STIPULATION AND ORDER ALLOWING
                                         )    DEFENDANT LEAVE FROM HOME
13        v.                             )    CONFINEMENT
                                         )
14   MELODY ANN CAMPBELL,                )
                                         )
15                   Defendant.          )
                                         )
16                                       )
17
18        It is hereby stipulated and agreed by and between counsel for the
19   parties, as follows:
20        1.   The defendant, Melody Ann Campbell, is presently serving a
21   one-year period of home detention with electronic monitoring as a
22   condition of supervised release.
23        2.   The defendant shall be allowed a three-day leave from home
24   detention for the sole purposes of traveling to and attending a
25   memorial service for Alvin Peterson, her domestic partner's deceased
26   father, to be held in Point Loma, California.
27        3.   The prospective dates of travel and attendance of the service
28   are December 8, 9 and 10, 2005.         The defendant shall, however, verify


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 1   to the satisfaction of her supervising United States Probation Officer,
 2   Alton Dural, the date, place and time of the service, shall provide him
 3   with address and telephone number of the place she will be staying and
 4   shall obtain any necessary travel authorization documents from him
 5   before her departure.
 6        4.     The defendant's one-year period of home detention shall be
 7   tolled for the three days she is absent for the memorial service.
 8
 9
10   Dated:     November 25, 2005                    /s/ CANDACE A. FRY
                                                     CANDACE A. FRY, Attorney for
11                                                   MELODY ANN CAMPBELL
12   Dated:     November 25, 2005                    McGREGOR W. SCOTT
                                                     United States Attorney
13
14                                                By /S/ CANDACE A. FRY for
                                                     KENNETH J. MELIKIAN
15                                                   Assistant U.S. Attorney
16                                                   (Signed for Mr. Melikian with
                                                     his telephonic authorization)
17
18                                         O R D E R
19
20        IT IS SO ORDERED.
21
     DATED:     November 29, 2005
22
                                               /s/ Garland E. Burrell, Jr.
23                                             GARLAND E. BURRELL, JR.
                                               United States District Judge
24
25
26
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